          Case 17-31646 Document 639 Filed in TXSB on 11/27/17 Page 1 of 7



                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

IN RE:                                                          §
                                                                §
MONTCO OFFSHORE, INC. et al.,1                                  §             CASE NO. 17-31646 (MI)
                                                                §
         Debtors.                                               §             CHAPTER 11
                                                                §

OCEANEERING INTERNATIONAL, INC.’S EMERGENCY MOTION FOR ENTRY OF
ORDER PURSUANT TO 11 U.S.C. § 1121(d) TERMINATING DEBTORS’ EXCLUSIVE
 PERIOD TO FILE CHAPTER 11 PLAN AND SOLICIT ACCEPTANCES THEREOF

THIS MOTION SEEKS ENTRY OF AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU OPPOSE
THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY TO RESOLVE THE
DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND
SEND A COPY TO THE MOVING PARTY. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD
NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED
WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN
AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE
COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE MOTION AT THE
HEARING.

EMERGENCY   RELIEF HAS BEEN REQUESTED. IF THE COURT CONSIDERS THE MOTION ON AN
EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN 21 DAYS TO ANSWER. IF YOU OBJECT TO
THE REQUESTED RELIEF OR IF YOU BELIEVE THAT THE EMERGENCY CONSIDERATION IS NOT
WARRANTED, YOU SHOULD FILE AN IMMEDIATE RESPONSE. A HEARING WILL BE HELD ON THIS
MATTER ON NOVEMBER 29, 2017 AT 2:00 P.M. (CT) BEFORE THE HONORABLE MARVIN ISGUR,
515 RUSK STREET, COURTROOM 404, HOUSTON, TEXAS 77002

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

TO THE HONORABLE MARVIN ISGUR, UNITED STATES BANKRUPTCY JUDGE:

         Oceaneering International, Inc. (“Oceaneering”), acting through its undersigned counsel,

submits this motion (the “Motion”) for entry of an order pursuant to section 1121(d) of title 11 of

the United States Code (the “Bankruptcy Code”) terminating the exclusive periods during which




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Montco Offshore, Inc. (1448) and Montco Oilfield Contractors, LLC (9886). The mailing address for the Debtors, solely for the
purposes of notices and communications, is 17751 Hwy 3235, Galliano, Louisiana 70354.



10917492v.1
          Case 17-31646 Document 639 Filed in TXSB on 11/27/17 Page 2 of 7



the above-captioned debtors and debtors in possessions (the “Debtors”) may file a chapter , and

respectfully states as follows:

                                       BACKGROUND

         1.    On March 17, 2017 (the “Petition Date”), the Debtors filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their businesses

and managing their properties as debtors in possession pursuant to sections 1107(a) and 1108 of

the Bankruptcy Code.

         2.    On July 7, 2017, the Debtors filed their Emergency Motion for Entry of an Order

Extending Exclusivity Periods Pursuant to Bankruptcy Code 1121 [Docket No. 313] (the “First

Exclusivity Motion”), seeking an extension for the period during which the Debtors have the

exclusive right to (a) file a chapter 11 plan (the “Filing Exclusivity Period”) through and

including September 13, 2017, and (b) solicit a plan filed (the “Solicitation Exclusivity Period”)

through and including November 13, 2017.

         3.    On July 17, 2017, the Court entered an order granting the First Exclusivity

Motion [Docket No. 329].

         4.    On August 22, 2017, the Debtors filed their second Motion for Entry of an Order

Extending Exclusivity Periods Pursuant to Bankruptcy Code 1121 [Docket No. 411] (the

“Second Exclusivity Motion”), seeking to extend the Filing Exclusivity Period through and

including October 13, 2017, and seeking to extend the Solicitation Exclusivity Period through

and including December 13, 2017.

         5.    On September 13, 2017, the Court entered an Order granting the Second

Exclusivity Extension Motion [Docket No. 424].

         6.    On September 26, 2017, the Debtors filed their chapter 11 plans of reorganization

and liquidation for Montco Offshore, Inc. (“MOI”) and Montco Oilfield Contractors, LLC

                                             PAGE 2
10917492v.1
          Case 17-31646 Document 639 Filed in TXSB on 11/27/17 Page 3 of 7



(“MOC”), respectively, [Docket No. 439] (the “Plan”) and a disclosure statement in connection

therewith [Docket No. 440] (the “Disclosure Statement”).

         7.    On October 6, 2017, the Court entered an order [Docket No. 470] conditionally

approving the Debtors’ Disclosure Statement, and permitting the Debtors to commence

solicitation of the Plan. The Court set the Debtors’ solicitation and notice date for October 10,

2017, with confirmation hearing scheduled for November 13, 2017.

         8.    On October 12, 2017, the Debtors filed their third Motion for Entry of an Order

Extending Exclusivity Periods Pursuant to Bankruptcy Code Section 1121 [Docket No. 486] (the

“Third Exclusivity Motion”), seeking to extend the Filing Exclusivity Period through and

including November 13, 2017.

         9.    On November 6, 20176, the Court entered an order granting the Third Exclusivity

Motion [Docket No. 554].

         10.   On November 13, 2017, the Debtors filed their fourth Motion for Entry of an

Order Extending Exclusivity Periods Pursuant to Bankruptcy Code 1121 [Docket No. 605] (the

“Fourth Exclusivity Motion”), seeking an extension for the Filing Exclusivity Period from

November 13, 2017 through and including December 13, 2017, and extending the Solicitation

Exclusivity Period from December 13, 2017 through and including January 12, 2017.

         11.   On November 20, 2017, the Court continued the hearing on the Fourth

Exclusivity Motion to November 29, 2017.

         12.   On November 24, 2017, the Debtors filed their Emergency Motion for an Order

(I) Approving (A) Bidding Procedures Governing Submission and Consideration of Competing

Transactions, (B) Bid Protections, (C) Form and Manner of Notice of Sale Transaction and Sale

Hearing, and (D) Assumption and Assignment Procedures for any Transferred Contracts; (II)

(A) Scheduling and Authorizing Debtor to Conduct an Auction Pursuant to the Bidding

                                             PAGE 3
10917492v.1
          Case 17-31646 Document 639 Filed in TXSB on 11/27/17 Page 4 of 7



Procedures, and (B) Authorizing Debtor to Enter into the Purchase Agreement to Implement the

Bidding Protections; (III) Authorizing (A) the Sale of the Purchased Assets Free and Clear of all

Liens, Claim, Encumbrances, and other Interests, and (B) the Assumption and Assignment of any

Transferred Contracts; and (IV) Granting Related Relief [Docket No. 637] (the “Sale Motion”),

seeking to sell all of MOI’s assets.

                                       RELIEF REQUESTED

          13.   By this Motion, Oceaneering seeks entry of an order, pursuant to section 1121(d)

of the Bankruptcy Code, substantially in the form annexed hereto as Exhibit A, terminating the

Debtors’ Solicitation Exclusivity Period, and denying the Debtors’ Fourth Exclusivity Motion to

allow other parties in interest to file and seek confirmation of a chapter 11 plan.

                                       BASIS FOR RELIEF

          14.   Section 1121(b) the Bankruptcy Code provides an initial period of 120 days after

the commencement of the chapter 11 case during which a debtor has the exclusive right to file a

chapter 11 plan. Section 1121(c)(3) of the Bankruptcy Code provides that if a debtor files a plan

within the 120-day exclusive filing period, it has an exclusive period of 180 days from the

petition date to obtain acceptances of its plan. A debtors’ exclusivity is not absolute. Rather,

section 1121(d)(1) of the Bankruptcy Code provides that the Court “may for cause reduce or

increase the 120-day period or the 180-day period.” 11 U.S.C. § 1121(d)(1).

          15.   The Bankruptcy Code does not define “cause.” However, Courts use the

following factors to determine whether cause exists to extend a debtor’s exclusive plan filing

period:

                a.     The size and complexity of the case;

                b.     The need for sufficient time to permit the debtor to negotiate a plan of
                       reorganization and prepare adequate information;

                c.     Whether the debtor has made progress in negotiations with its creditors;
                                               PAGE 4
10917492v.1
          Case 17-31646 Document 639 Filed in TXSB on 11/27/17 Page 5 of 7



               d.      The existence of good faith progress towards reorganization;

               e.      Whether the debtor is seeking to extend exclusivity to pressure creditors to
                       accede to the debtors’ reorganization demands;

               f.      Whether the debtor has demonstrated reasonable prospects for filing a
                       viable plan;

               g.      The fact that the debtor is paying its bills as they become due;

               h.      The amount of time which has elapsed in the case; and/or

               i.      Whether an unresolved contingency remains.

See, e.g., In re New Millennium Mgmt., LLC, No. 13-35719 (LZP), 2014 WL 792115, at *6

(Bankr. S.D. Tex. Feb. 25, 2014). Not all factors are relevant to every case. See, e.g., In re

Express One Int’l, Inc., 194 B.R. 98, 100 (Bankr. E.D. Tex. 1996).

         16.   As stated above, “cause” exists to terminate the Debtors’ Solicitation Exclusivity

Period, and denying the Debtors’ Fourth Exclusivity Motion. To begin, as stated in the Debtors’

Sale Motion, the Debtors are no longer seeking to confirm the Plan, and expect to file a

liquidating plan for MOI. See Sale Motion at ¶ 7 and 13 (“MOI has concluded that it is no longer

feasible to proceed with the Plan . . . MOI expects to simultaneously prepare and prosecute a

liquidating plan for each of MOI and MOC”). This fact alone justifies ending the Solicitation

Exclusivity Period, and denying the Debtors’ Fourth Exclusivity Motion. The Debtors should

not have the sole right to file a plan while at the same time selling all of the MOI’s assets through

an auction. As such, Oceaneering requests that this Court end the Solicitation Exclusivity Period,

and deny the Debtors’ Fourth Exclusivity Motion.

                            EMERGENCY RELIEF REQUESTED

         17.   The Debtors’ filed the Sale Motion on November 24, 2017, and the hearing on the

Debtors’ Fourth Exclusivity Motion was continued to November 29, 2017. As such, Oceaneering




                                               PAGE 5
10917492v.1
          Case 17-31646 Document 639 Filed in TXSB on 11/27/17 Page 6 of 7



has had limited time to file a Motion requesting this Court end the Solicitation Exclusivity

Period, and denying the Debtors’ Fourth Exclusivity Motion.

                                       CONCLUSION

         18.   Oceaneering respectfully requests that the Court enter an order, substantially in

the form attached hereto as Exhibit A, and grant such other and further relief to which the

Debtors may be justly entitled.

Dated: November 27, 2017                    Respectfully submitted,
Houston, Texas
                                            GARDERE WYNNE SEWELL LLP

                                             /s/ David S. Elder
                                             David S. Elder
                                             State Bar No. 06507700
                                             delder@gardere.com
                                             713-276-5750 (direct dial)
                                             713-276-6750 (direct fax)
                                             Sean T. Wilson
                                             State Bar No. 24077962
                                             swilson@gardere.com
                                             713-276-5619 (direct dial)
                                             713-276-6619 (direct fax)
                                             Gardere Wynne Sewell LLP
                                             1000 Louisiana, Suite 2000
                                             Houston, Texas 77002-2099

                                             Attorneys for Oceaneering International, Inc.




                                             PAGE 6
10917492v.1
          Case 17-31646 Document 639 Filed in TXSB on 11/27/17 Page 7 of 7



                               CERTIFICATE OF SERVICE

       I do hereby certify that on November 27, 2017 a true and correct copy of the foregoing
pleading was served via CM/ECF to all parties authorized to receive electronic notice in these
cases.

                                                       /s/ Sean T. Wilson
                                                       Sean T. Wilson




                                           PAGE 7
10917492v.1
